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    RISE


    Dusty Button, a dancer just hitting her
    stride
    By Joel Brown Globe Correspondent, September 14, 2013, 6:00 p.m.




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    Dusty Button (center) working with other dancers on a performance she choreographed. PAT GREENHOUSE/GLOBE
    STAFF/GLOBE STAFF


    Age: 24

    Hometown: Myrtle Beach, S.C.
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    Think of: People say she looks like Hannah Montana (Miley Cyrus), but she’s not sure
    that’s a good thing anymore after the young star’s controversial performance at the MTV
    Video Music Awards.

    What caught our eye: Thriving since joining Boston Ballet’s corps in 2012, she’s also
    taking strides as a choreographer.

    Lightbulb moment: At 18, she realized a career in ballet was truly possible when she
    was offered a job dancing with the Birmingham Royal Ballet in England.

    Biggest thrill: “Queen of the Dryads in ‘Don Quixote’ was the first thing I did after I
    joined Boston Ballet. It was a bigger part, and it was also a part that I enjoyed doing.”

    Biggest surprise: “I’d only been here a little over nine months, and Mikko [Nissinen,
    the Ballet’s artistic director] actually approached me and said I was being promoted to
    soloist.”

    Inspired by: Her fiance, Taylor Moore. “He used to be a dancer as well as a
    choreographer. Now he’s a watchmaker. Artistically I was inspired by him a lot because
    his style was so different from mine.”

    Aspires to: “I definitely want to stay performing and be a principal in the company and
    do all that. I also would love to carry on with choreography, too. I love creating on people
    and watching them take to it in a different way.”

    For good luck: She sends a text to Moore, who answers with an encouraging message.

    What people should know: That’s her real name. Her parents wanted to give her a
    biblical name, but not one of the usual ones. “‘God made man from the dust of the earth,’
    so they called me Dusty.”

    Coming soon: “Timeless,” her 17-minute piece for nine dancers, set to music from
    Paramore and the “Shutter Island” soundtrack, among other sources, will have its world

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    premiere as part of the BB@Home program Oct. 3-4, in Boston Ballet’s black-box theater
    in its headquarters at 19 Clarendon St.

    Links: www.bostonballet.org/bb-at-home,
    www.bostonballet.org/Company_Dancers/Dancers/Dusty_Button.html



    Joel Brown can be reached at jbnbpt@gmail.com.



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